                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                No. 5:21-CV-343-BO


FL YING DOG BREWERY, LLC,                     )
                Plaintiff,                    )
                                              )
V.                            )                                      ORDER
                              )
THE NORTH CAROLINA ALCOHOLIC )
BEVERAGE CONTROL COMMISSION, )
ALEXANDER DUKE "ZANDER" GUY )
JR. , NORMAN A. MITCHELL SR., )
KAREN L. STOUT, TERRANCE L.   )
MERRIWEATHER,                 )
                  Defendants. )




        This cause comes before the Court on plaintiffs motion for temporary restraining order

and preliminary injunction pursuant to Rule 65(a) and (b) of the Federal Rules of Civil Procedure.

[DE 5]. For the reasons that follow, the motion for a temporary restraining order is denied. A

hearing will be held on the motion for a preliminary injunction on September 9, 2021, at Elizabeth

City.

                                         BACKGROUND

        Plaintiff commenced this action on August 26, 2021. [DE 1]. Plaintiffs complaint

challenges 14B NCAC 15B.1003(a)(2) as violating the First Amendment both on its face and as

applied to plaintiff. Plaintiffs claim concerns defendants' decision to decline approval for

plaintiffs label design for its "Freezin' Season" twelve-ounce bottled beer. As of the filing ofthis

order, defendants have not appeared in this action nor has any filing been made demonstrating

proof service of the instant motion.




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                                           DISCUSSION

       Rule 65(b) of the Federal Rules of Civil Procedure governs the issuance of temporary

restraining orders. It provides that

       (1) Issuing Without Notice. The court may issue a temporary restraining order
       without written or oral notice to the adverse party or its attorney only if:
       (A) specific facts in an affidavit or a verified complaint clearly show that
       immediate and irreparable injury, loss, or damage will result to the movant before
       the adverse party can be heard in opposition; and
       (B) the movant's attorney certifies in writing any efforts made to give notice and
       the reasons why it should not be required.

Fed. R. Civ. P. 65(b). While temporary restraining orders are at times necessary, " [t]he stringent

restrictions imposed by . .. Rule 65 [] on the availability of ex parte temporary restraining orders

reflect the fact that our entire jurisprudence runs counter to the notion of court action taken

before reasonable notice and an opportunity to be heard has been granted both sides of a

dispute." Granny Goose Foods, Inc. v. Bhd. of Teamsters & Auto Truck Drivers Loe. No. 70 of

Alameda Cty., 415 U.S. 423 , 438- 39 (1974). Accordingly, the procedural requirements of Rule

65(b) are strictly construed. Tchienkou v. Net Tr. Mortg. , No. CIV.A 3:10-CV-00023 , 2010 WL

2375882, at *1 (W.D. Va. June 9, 2010).

       Here, plaintiffs attorney has failed to satisfy Rule 65(b)(l)(B) by certifying in writing

any efforts made to give notice to the defendants and the reasons why notice should not be

required. Emergency, ex parte relief is therefore unsupported by the current motion.

                                          CONCLUSION

       Accordingly, plaintiffs motion for a temporary restraining order is DENIED. The Court

will hold a hearing on plaintiffs motion for a preliminary injunction on September 9, 2021 , at

11 :00 a.m. at Elizabeth City, North Carolina. Plaintiff shall make service of this order on




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defendants and file proof of the same. If exigent circumstances exist that require an earlier

preliminary injunction hearing the Court will entertain such request by motion.




SO ORDERED, thisJ_l_ day of August, 202 1.




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                                             UNITED STATES DISTRICT         JUGE




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